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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 WAYNE BALIGA, derivatively on behalf
 of LINK MOTION INC. (F/K/A NQ
 MOBILE INC.),
                  Plaintiff,

                   -against-                        Civil Action No. 1:18-cv-11642-VM-DCF

 LINK MOTION INC. (F/K/A NQ MOBILE
 INC.), VINCENT WENYONG SHI, HIA
 LIAN, XIAO YU,

                        Defendants,

                   -and-

 LINK MOTION INC. (F/K/A NQ MOBILE
 INC.),

                        Nominal Defendant.


                   STIPULATION AND [proposed] SCHEDULING ORDER

       WHEREAS, on October 14, 2020, defendant Shi filed a motion to direct indemnification

(Dkt. 169);

       WHEREAS, on October 23, 2020, the Court entered an Order approving the parties’

agreement, including that Shi’s motion for indemnification shall be deemed withdrawn without

prejudice (Dkt. 175);

       WHEREAS, on November 4, 2020, defendants Link Motion and Shi filed a motion to

dismiss the Second Amended Complaint (Dkt. 177);

       WHEREAS, on November 4, 2020, defendant Shi filed a motion to discharge the Receiver

and vacate the preliminary injunction (Dkt. 180);
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       WHEREAS, on November 13, 2020, the Receiver filed an application for leave to call an

extraordinary general meeting for Link Motion (Dkt. 188);

       WHEREAS, on November 16, 2020, this Court directed the parties to submit a briefing

schedule with respect to the above-referenced motions;

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and

between the undersigned parties as follows:

       1. Any answer, opposition, motion or other response to the above-referenced motions
          (Dkt. Nos. 177, 180, 188) shall be served on or before December 18, 2020; and

       2. Any replies shall be served on or before January 18; 2021.

Dated: New York, New York
       November 18, 2020

 GREENBERG TRAURIG, LLP                            FELICELLO LAW P.C.

 By: _/s/ Toby S. Soli_________                    By: _/s/ Michael James Maloney____
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 Counsel for Plaintiff                             Counsel for Defendants Link Motion Inc. (for
                                                   purposes of the motion to dismiss per
                                                   Dkt. #175) and Vincent Wenyong Shi

                                                   SEIDEN LAW GROUP LLP

                                                   By: _/s/ Amiad Moshe Kushner________
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                                                   Counsel for Receiver



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SO ORDERED:


______________________________
Honorable Debra Freeman
United States Magistrate Judge




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